                                                                                       E-FILED
                                                                             7/19/2018 4:35 PM
                                                                            CLERK & MASTER
                                                                  DAVIDSON CO. CHANCERY CT.

        IN THE CHANCERY COURT FOR THE STATE OF TENNESSEE
       TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY, PART III

ABU-ALI-ABDUR'RAHMAN, LEE                )
HALL, a/k/a LEROY HALL, BILLY            )
RAY IRICK, DONNIE JOHNSON,               )
DAYID EARL MILLER, NICHOLAS              )
TODD SUTTON, STEPHEN MICHAEL             )
WEST, CHARLES WALTON                     )
WRIGHT, EDMUND ZAGORSKI,                 )
JOHN MICHAEL BANE, BYRON                 )
BLACK, ANDRE BLAND, KEVIN                )
BURNS, TONY CARRUTHERS,                  )
TYRONE CHALMERS, JAMES                   )
DELLINGER, DAYID DUNCAN,                 )
KENNATH HENDERSON, ANTHONY               )
DARRELL HINES, HENRY HODGES,             )
STEPHEN HUGUELEY, DAVID IVY,             )
AKIL JAHI, DAYID JORDAN, DAYID           )
KEEN, LARRY MCKAY, DONALD                )
MIDDLEBROOKS, FARRIS MORRIS,             )
PERVIS PAYNE, GERALD POWERS,             )
WILLIAM GLENN ROGERS,                    )
MICHAEL SAMPLE, OSCAR SMITH,             )
                                         )
        Plaintiffs,                      )
                                         )
vs.                                      )   No. 18-183-Il(III)
                                         )
TONY PARKER, in his official capacity    )
as Tennessee Commissioner of             )
Correction, TONY MAYS, in his official   )
capacity as Warden of River bend         )
Maximum Security Institution,            )
JOHN/JANE DOE EXECUTIONERS               )
1-100, JOHN/JANE DOE MEDICAL             )
EXAMINER(S) 1-100, JOHN/JANE             )
DOE PHARMACISTS 1-100,                   )
JOHN/JANE DOE PHYSICIANS 1-100,          )
JOHN/JANE DOES 1-100,                    )
                                         )
        Defendants.




      Case 3:18-cv-01234 Document 1-7 Filed 11/02/18 Page 1 of 4 PageID #: 479
                                                                          Attachment 6
        ORDER APPL YING TENNESSEE CIVIL PROCEDURE RULE 15.02

        At the close of their proof, the Plaintiffs made a Tennessee Civil Procedure Rule

15.02 motion to amend the pleadings to conform to the proof.

        The Court denied Plaintiffs amending the pleadings to assert removal of

vecuronium bromide from the Tennessee three-drug July 5, 2018 lethal injection protocol

as a known, feasible and available alternative, see Glossip v. Gross, 135 S. Ct. 2726

(2015). This potential cause of action was known or could have been known by the

Plaintiffs upon the filing of the lawsuit, and this cause of action has not been tried by

express or implied consent. The Court ruled that the Glossip alternative the Plaintiffs

have pleaded is Protocol A, see, e.g., Second Amended Complaint For Declaratory
                                                                 1
Judgment, pp. 46-50,      iJiJ 288-320;   323 (July 3, 2018). Incorporated herein by reference,

to the transcript of the proceedings, are the oral argument and ruling.

        Denial of the Plaintiffs' Rule 15.02 motion to amend on the Glossip alternative,

however, is separate from and does not affect that by express consent of the parties, see

Defendants' Notice Of Filing-Lethal Injection Execution Manual Revised July 5, 2018,

1
  See, e.g, Grayson v. Warden, 672 Fed. Appx. 956, 960 (11th Cir. 2016) ("The Supreme Court affirmed
that ruling and clarified in its decision that, in order to prevail on an Eighth Amendment method-of-
execution claim, a prisoner must plead and prove that: (1) the challenged execution method is "sure or
very likely to cause serious illness and needless suffering" and (2) there is "an alternative [method of
execution] that is feasible, readily implemented, and in fact significantly reduces a substantial risk of
severe pain." Id. at 2737 (quotations and emphasis omitted) (applying Baze v. Rees, 553 U.S. 35, 128
S.Ct. 1520, 170 L.Ed.2d 420 (2008)).") (emphasis added); Arthur v. Comm'r, Alabama Dep't of Corr.,
840 F.3d 1268, 1303 (11th Cir. 2016), cert. denied sub nom. Arthur v. Dunn, 137 S. Ct. 725 (2017), reh'!;
denied, 137 S. Ct. 1838 (2017) ("The State need not make any showing because it is Arthur's burden, not
the State's, to plead and prove both a known and available alternative method of execution and that
such alternative method significantly reduces a substantial risk of severe pain. Glossip, 135 S.Ct. at 2737,
2739. ") (emphasis added).
                                                     2



    Case 3:18-cv-01234 Document 1-7 Filed 11/02/18 Page 2 of 4 PageID #: 480
                                                                                                 Attachment 6
the pleadings have been amended to conform to the filing on July 5, 2018 and the proof at

trial that the protocol in issue and on which declaratory judgment is sought is the Lethal

Injection Execution Manual, Execution Procedures For Lethal Injection, Revised July 5,

2018. 2

          It is so ORDERED.


                                                              s/ Ellen Hobbs Lvle
                                                            ELLEN HOBBS LYLE
                                                            CHANCELLOR

cc by U.S. Mail, email, or efiling as applicable to:
       Kelley J. Henry
             Attorney for Plaintiffs Abdur' Rahman, Bane, Black, Bland, Bums,
             Carruthers, Chalmers, Dellinger, Duncan, Henderson, Hines, Hodges,
             Hugueley, Jahi, Ivy, Johnson, Jordan, Keen, Middlebrooks, Miller, Morris,
             Payne, Powers, Rogers, Sample, Smith, Wright, Zagorski
       Dana C. Hansen Chavis
       Stephen Kissinger
             Attorney for Plaintiffs McKay, Miller, Sutton, and West
       Bradley MacLean
             Attorney for Plaintiff Abdur' Rahman
       Carl Gene Shiles, Jr.
       William J. Rieder
             Attorneys for Plaintiff Irick
       Kathleen Morris
             Attorney for Plaintiff Hall

2
    Rue 15.02 of the Tennessee Rules of Civil Procedure provides in pertinent part:

          When issues not raised by the pleadings are tried by express or implied consent of the
          parties, they shall be treated in all respects as if they had been raised in the pleadings.
          Such amendment of the pleadings as may be necessary to cause them to conform to the
          evidence and to raise these issues may be made upon motion of any party at any time,
          even after judgment; but failure so to amend does not affect the result of the trial of these
          issues.

TENN. R. C!V. P. 15.02 (West 2018) (emphasis added).

                                                       3



      Case 3:18-cv-01234 Document 1-7 Filed 11/02/18 Page 3 of 4 PageID #: 481
                                                                                                    Attachment 6
  Scott C. Sutherland
  Rob Mitchell
  Charlotte M. Davis
         Attorney for the Defendants




                                       4



Case 3:18-cv-01234 Document 1-7 Filed 11/02/18 Page 4 of 4 PageID #: 482
                                                                   Attachment 6
